                             UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS (BOSTON)

NINA HALL,                                       )
                                                 )
         Plaintiff,                              )
                                                 )
v.                                               )           CASE NO. 1:17-cv-11602-RWZ
                                                 )
SANTANDER CONSUMER USA,                          )
SANTANDER BANK, N.A.,                            )
                                                 )
                                                 )
         Defendant.                              )

                                  NOTICE OF DISMISSAL

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41, Plaintiff

Nina Hall (“Plaintiff”) hereby dismisses her claim against Defendant Santander Consumer USA

Inc. without prejudice. This dismissal shall not impact Plaintiff’s claims against Santander Bank,

N.A.


Dated:                                                Respectfully submitted,


                                                    /s/ Craig Thor Kimmel
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                                                    Counsel for Plaintiff




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